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May 18, 2004

Honorable Richard Stearns

United States District Judge

John Joseph Moakley U.S. Courthouse
1 Courthouse Way

Boston, Massachusetts 02210

Re: United States Of America v. Warmer-Lambert Company

Dear Judge Stearns:

Recently I learned of your assignment regarding the proposed plea agreement related to crimes
committed by Warner-Lambert resulting from its illegal marketing and promotion of Neurontm. Kindly accept
this as a formal objection to said plea agreement as it woefully ignores the hundreds of American deaths and
injuries attributable to their admitted criminal acts.

The plea focuses solely on the pecuniary gain while taking no notice or consideration of the extensive
physical harm and deaths caused to thousands of individuals whose doctors were fraudulently enticed to
prescribe Neurontin when the corporation and its officers knew said medication not only had no medical
efficacy, but caused physical and psychiatric harm. Warner-Lambert and individuals employed by them
knowingly promoted a drug they knew caused serious psychiatric adverse effects while admitting to not
performing the required FDA safety testing. The original package insert for Neurontin sold in the United
States indicated that those who participated in the original clinical trial suffered from; anxiety, hostility,
suicidal, suicide gesture, dreaming abnormal, apathy, hallucination, agitation, paranoia, depersonalization,
euphoria, feeling high, psychosis, personality disorder, mania, neurosis, hysteria, and antisocial reaction.

Additionally, the National Institute of Health conducted double blind, placebo controlled tests regarding
the efficacy of Neurontin for off-label use. These tests showed Neurontin was either less effective or equally
effective as a placebo. Notwithstanding their knowledge of the aforementioned psychiatric adverse events and
in the face of these independent studies showing the drug had no efficacy for off-label usage, Warner-Lambert
created a scheme to deceive physicians into prescribing Neurontin to individuals suffering from both physical
and psychiatric conditions.

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March 21, 2005

Dr. Russell Katz

Director, Neuropharmacological Drug Products
Food and Drug Administration, FDA 120

1451 Rockville Pike, Room 4037

Rockville, MD 20852

Via e-mail and regular mail
Re: NEURONTIN
Dear Dr. Katz:

Enclosed you will find two hundred fifty eight MedWatch forms, most with redacted death certificates. Each
represents a suicide of an American who was on Neurontin when he or she took his or her own life. To this
day, completed suicide is not found anywhere on the warning label for Neurontin.

As you know, Neurontin was recommended for approval by the Neuropharmacolgical Drug Products Division
of the FDA in 1992. At that time you were Group Leader of the Division and oversaw the FDA’s analysis of
the clinical data supplied by Parke-Davis Pharmaceuticals, the sponsor seeking approval to sell Neurontin.

Recently, we obtained the FDA’s analysis of the New Drug Application filed by Parke-Davis and found
shocking information. During your evaluation of serious adverse events that occurred during original clinical
trials, the risk of Neurontin causing suicide was both known and a major concern. The FDA clinical reviewer
from your Division specifically stated in December, 1992:

Serious adverse events may limit the drug’s widespread usefulness. Depression, while it
may not be an infrequent occurrence in the epileptic population, may become worse and

require intervention or lead to suicide, as it has resulted in some suicidal attempts during
clinical trials. (emphasis added)

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April 15, 2005

Dr. Russell Katz

Director, Neuropharmacological Drug Products
Food and Drug Administration, FDA 120

1451 Rockville Pike, Room 4037

Rockville, MD 20852

RE: Neurontin
Dear Dr. Katz:

This is in response to your letter dated April 12, 2005, which addreases some issues raised in my March 21,
2005, letter. There are several misconceptions ahd misstatements on your part that I feel compelled to address.

Before I do so, I want you to know that I am encouraged that the FDA has taken a modest step forward in
investigating the association between Neurontiniand suicidal behavior. However, asking sponsors to re-analyze
their controlled trials’ databases to examine thé questions of drug-induced suicide and/or suicidality does not
address the health and safety of the American public currently taking Neurontin for off-label indications. Since
your letter fails to address whether the FDA will issue a Health Advisory Warming, Patient Informatin Sheet, or
black box warning related to the potential assocgtion between Neurontin and snicide/suicidality, J presume none
is contemplated. The FDA is duty bound to advise both prescribing physicians and the public of the actions you
have undertaken.

While Neurontin is not an SSRI, you acknowlejige that the analysis the FDA is undertaking with Neurontin is
similar to what the FDA recenily performed when evaluating the question of whether or not SSRI drugs increase
the risk of drug induced suicide and/or suicidality in pediatric patients. When that analysis was undertaken, it
was not done with any secrecy or non-disclosure. Rather, FDA issued a public health advisory alerting both
prescribing physicians and consumers to be on the lookout for increased depression and suicidality when
commencing SSRI treatment.

Importantly, in that advisory the FDA did not state that any association existed between worsening of depression
and suicidality in patients being treated with anti-depressant medications. Rather, the FDA advised that such

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